                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA

In Re:                                       Case No:        17-04225-HAC

Carmen R. Green

         Debtor

         ORDER ON MOTION FOR RELIEF FROM AUTOMATIC STAY
 FILED BY SETERUS, INC. AS THE AUTHORIZED SUBSERVICER FOR FEDERAL
   NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”) CREDITOR, C/O
                             SETERUS, INC.

        This matter coming before the Court on July 18, 2018 on the Motion for Relief from
Automatic Stay filed by SETERUS, INC. AS THE AUTHORIZED SUBSERVICER FOR
FEDERAL NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”) CREDITOR, C/O
SETERUS, INC. (hereinafter "Creditor"), and this Court being informed of the agreement of the
parties hereto regarding 401 Joseph St, Satsuma, AL 36572, it is therefore ORDERED,
ADJUDGED AND DECREED as follows:

   1. The Creditor may file a claim for the post-petition mortgage arrearage through July 2018
      plus the attorney fees and costs in connection with Creditor's Motion for Relief from
      Stay. The arrearage to be put into the plan is as follows:
              3 payments @ $868.18 for 05/18 to 07/18:                    $2,604.54
              Attorney Fees and Costs for MFR:                              $831.00
              Property Inspections:                                           $15.00
              Less Debtor suspense:                                          -$65.96
              Total:                                                      $3,384.58

   2. The Motion for Relief from Stay filed by the Creditor is hereby conditionally denied.
      However, should the Debtor default under the mortgage agreement between the parties
      by failing to make payments due on the 1st day of each month within the next
      TWENTY-FOUR MONTHS beginning August 2018 and continuing through July 2020,
      the Creditor may file with the Court a Notice of Default giving the Debtor twenty (20)
      days to cure. A copy of the Notice of Default shall also be mailed to the Debtor.

   3. If the default is not cured within twenty (20) days from the date the notice is issued, then
      the Creditor may file a Notice of Termination of Stay with the Court and mail a copy to
      the Debtor. Upon filing the Notice of Termination of Stay, the stay shall lift without
      further Order from the Court. Further, upon lifting of the stay the Creditor is allowed to
      communicate with the Debtor as required under the note and mortgage or under state law.
      Waiver of default shall not constitute waiver of subsequent default.

   4. If relief from the automatic stay under 11 U.S.C. § 362 becomes effective, this Creditor is
      thereafter entitled to enforce any and all of its right, title, interest in and to the subject




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       property under applicable non-bankruptcy law. The filing and service of Notice of
       Payment Change and/or Notices of Post-Petition Fees, Expenses, and Charges, as
       described by FRBP 3002.1(b) and FRBP 3002.1(c) are not required once relief from the
       automatic stay under 11 U.S.C. § 362 is triggered and becomes effective. Upon entry of
       this Order granting relief from the automatic stay under 11 U.S.C. § 362, the 14-day stay
       of Rule FRBP 4001(a)(3) is waived.

       Dated: July 23, 2018




This Order was reviewed and approved by Counsel for the Debtor.



This document was prepared by:
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